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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                             COLUMBUS DIVISION

UNITED STATES OF AMERICA                 *

vs.                                      *

CURTIS WILLIAMS                          *          CASE NO. 4:08-CR-36 (CDL)

                                         *

                                  O R D E R

        Defendant seeks dismissal of his indictment with prejudice based

upon the delay between the time of his arrest and his indictment and

the delay in bringing him to trial after his indictment.              Defendant

contends that these delays violated his constitutional rights under

the Sixth and Fourteenth Amendments and his statutory rights under

the Speedy Trial Act, 18 U.S.C. § 3161 et seq.              Presently pending

before the Court are: (1) Defendant’s Motion to Dismiss for Pre-

Indictment    Delay    (Doc.   61),   (2)    Defendant’s   Motion   to   Dismiss

Indictment Pursuant to the Speedy Trial Act (Doc. 62), and (3)

Defendant’s Motion to Dismiss Indictment Pursuant to the Speedy Trial

Clause of the Sixth Amendment (Doc. 63).           For the following reasons,

the Court grants Defendant’s motion to dismiss the indictment under

the Speedy Trial Act, but the dismissal is without prejudice.               All

other motions are denied.

                                  BACKGROUND

        The U.S. Grand Jury indicted Defendant on September 30, 2008 for

the federal charges of possession with intent to distribute more than

fifty     grams   of   cocaine   base,       21   U.S.C.   §§   841(a)(1)   and
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841(b)(1)(A)(iii), and possession with intent to distribute cocaine,

21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C). These charges arose from an

investigation by county law enforcement officers which resulted in

the execution of a search warrant on July 14, 2006 at 1417 29th

Street and 1419 29th Street, Columbus, Georgia by those county law

enforcement officers.     Substantial quantities of illegal drugs and

weapons were found during the search.       Defendant, who was present at

the scene of the search, was arrested on the date of the search by

the local law enforcement officers and charged with state drug and

weapons offenses.    Defendant was taken into custody and remained in

custody until he was granted a bond by the state court judge.

Defendant would have been entitled to legal representation subsequent

to his arrest.

     Within thirty to sixty days after his arrest, the county law

enforcement officials decided to present the case to the federal

government for possible prosecution in federal court.         At that time,

they intended to pursue both drug charges and weapons charges.          To

pursue the weapons offenses under federal law, the Government had to

establish a nexus between the weapons and interstate commerce.

Making that determination caused significant delay in the indictment

of Defendant.    Ultimately, the Assistant U.S. Attorney decided that

the Government should wait no longer on the investigation regarding

the interstate commerce nexus and decided to seek an indictment only

on the drug charges.     The indictment was returned on September 30,



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2008, over two years and two months after the Defendant was first

arrested on the related state charges.

     After the indictment was returned, the Government encountered

difficulty in finding Defendant.         He was finally arrested, and his

arraignment and initial appearance were held on September 28, 2009.

He was released on bond.      On December 18, 2009, the Court notified

Defendant that it intended to try his case in March of 2010 and that

a final pretrial conference was scheduled for January 26, 2010.             At

that pretrial conference, Defendant’s counsel sought leave to file

tardy pretrial motions, which the Court allowed.            On January 28,

2010, Defendant’s counsel filed the presently pending motions to

dismiss the indictment, raising for the first time issues regarding

the timing of Defendant’s indictment and trial.

     Defendant argues that the indictment should be dismissed with

prejudice because the delays were inexcusable and they prejudiced his

right to a fair trial and a full defense of the charges.              Defendant

maintains that he has been prejudiced in three ways.              First, he

points to the general “fading of memories” over time, although he has

presented no specific evidence of anyone’s faded memory and the

effect it may have on his right to a fair trial.       Second, he contends

that the houses where the drugs were found were actually owned by

Lewis Williams, who died on December 30, 2007.1             Although Lewis

Williams’s death obviously prevents his testimony, Defendant has

     1
      For purposes of the pending motions, the Court assumes that Lewis
Williams is deceased.

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pointed to no evidence that he would have testified to anything that

would have been favorable to Defendant or that he would have led

Defendant to any leads that could have been helpful.                       Nothing

prevents       Defendant    from    introducing   other    evidence     that    Lewis

Williams owned the houses and exercised control over their contents.

Finally, Defendant points to the fact that the two houses where the

contraband was found were torn down on approximately October 20,

2007.       Defendant argues that he therefore lost the chance to inspect

that property in support of his defense.

                                     DISCUSSION

I.      The Speedy Trial Act

        The   Government    concedes    that    under   the    Speedy   Trial   Act,

Defendant’s       trial    should    have   commenced     by   December   7,    2009.

Although Defendant never raised the speedy trial issue and his

attorney should have been aware that the case would not likely be

tried before December 7, 2009 unless Defendant insisted upon it, the

Court finds that Defendant nevertheless had the statutory right under

the Speedy Trial Act to be tried by December 7, 2009.2 Therefore, the

indictment must be dismissed.




        2
      The Government suggests that Defendant could not have been tried
prior to that date because of the Court’s schedule. The Government is
wrong. The Court has consistently made it clear to the U.S. Attorney’s
Office that it would rearrange its schedule to accommodate the trial of
any criminal case that needed to be tried or face dismissal under the
Speedy Trial Act.   Although the Court does schedule regular terms of
court, it also has the flexibility to schedule special settings when
necessary to accommodate a speedy trial deadline.

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      In deciding whether the dismissal is with prejudice, the Court

examines three factors: (1) the seriousness of the offense; (2) the

facts and circumstances leading to dismissal; and (3) the impact of

a re-prosecution on the administration of the Speedy Trial Act and

the administration of justice.        See 18 U.S.C. § 3162(a)(2).        The

Eleventh Circuit “perceives no statutory preference for either form

of dismissal.”       United States v. Miranda, 835 F.2d 830, 834 (11th

Cir. 1988).

      The seriousness of the offense weighs against dismissal with

prejudice.     Defendant was indicted for a violation of 21 U.S.C.

§ 841, which provides for a mandatory minimum ten-year prison

sentence with a maximum sentence of life.       The delay under the Speedy

Trial Act would have been approximately two and a half months, which

the Court finds was not severe compared to the seriousness of the

criminal charges against Defendant.       See United States v. Phillips,

775 F.2d 1454, 1456 (11th Cir. 1985) (“Where the crime charged is

serious, the court should dismiss only for a correspondingly severe

delay.” (internal quotation marks omitted)).

      The facts and circumstances surrounding the delay, while not

completely excusable, are understandable. Defendant did not make his

initial appearance until September 28, 2009, which was in the middle

of   the   Court’s   regularly   scheduled   jury   trial   term.     Shortly

thereafter, the Court was involved in the trial of a specially set

criminal trial.      Defendant was free on bond and his attorney was not


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pressuring the Government to try the case before the Court’s next

regularly scheduled jury trial term in           March.     The Government

obtained absolutely no advantage from the delay.             The prejudice

Defendant points to, death of a witness and destruction of the place

of the crime, had previously occurred well before the Speedy Trial

time clock even began to run.        The Speedy Trial Act delay did not

contribute to any prejudice that Defendant even alleges in support of

his motion to dismiss with prejudice. Although the Government should

have sought a short continuance prior to the expiration of the Speedy

Trial deadline, the Court finds that its failure to do so is not the

type of conduct that supports a dismissal of the indictment with

prejudice.

     Finally, the Court finds that the administration of justice

favors a dismissal without prejudice.            If the Court granted a

dismissal with prejudice, the Court would remove from a jury’s

consideration a grand jury’s charge that Defendant engaged in serious

criminal conduct based upon a two-month delay that has not prejudiced

Defendant.   If the Court grants a dismissal without prejudice, the

Government will be able to re-prosecute the case in a manner that

fully protects Defendant’s Speedy Trial Act rights as well as his

right to a full defense to the charges and a fair trial.

     Based on the foregoing, the Court grants Defendant’s motion to

dismiss the indictment under the Speedy Trial Act, but the dismissal

is without prejudice.      See United States v. Russo, 741 F.2d 1264,



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1267 (11th Cir. 1984) (per curiam) (“Where the violation of the

[Speedy Trial Act] is slight and the other two factors militate in

favor of reprosecution, mere negligence or inadvertence will not

automatically call for dismissal with prejudice.”).

II.    Constitutional Claims

       Defendant argues that the delays in bringing him to trial

violate his Sixth Amendment right to a speedy trial and his due

process rights.      The Court finds it helpful to examine these claims

in the context of the post-indictment delay and the pre-indictment

delay.

       A.    Post-indictment Delay

       Generally, speedy trial challenges under the Sixth Amendment

focus on the delay between the indictment and the trial of the

defendant.     In this case, Defendant was indicted on September 30,

2008, and he was scheduled to go to trial on March 1, 2010.

Therefore, there was a delay of approximately one year and five

months between indictment and trial. The Court looks at four factors

in    determining    whether   this       delay    violated     Defendant’s    Sixth

Amendment right to a speedy trial.            Those factors are: (1) length of

the delay; (2) reason for the delay; (3) defendant’s assertion of the

speedy trial right; and (4) prejudice to the defendant.                    Barker v.

Wingo, 407 U.S. 514, 530 (1972).

       The   Court   finds   that   the    delay    of   over   a   year   could   be

considered “presumptively prejudicial,” and therefore, the speedy


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trial analysis is triggered.        See Doggett v. United States, 505 U.S.

647, 652 & n.1 (1992).       However, the Court finds that an analysis of

the remaining factors does not warrant a finding of a constitutional

violation.     The reason for the delay by the Government relates

primarily to its inability to find Defendant to arrest him after he

was indicted.     After they found him and arrested him, the delay was

only five months.        That delay appears to be based upon carelessness

and not bad faith by the Government or an attempt to obtain some type

of tactical advantage.          Furthermore, Defendant suffered no actual

prejudice as a result of the post-indictment delay.             His alleged

prejudice, the death of Lewis Williams and the destruction of the

houses, had already occurred well before the indictment.              Based on

these factors, the Court finds that the post-indictment delay did not

constitute a constitutional violation under the Sixth Amendment.

     B.      Pre-Indictment Delay

     The limit on pre-indictment delay is typically set by the

applicable     statute     of   limitations.     However,   under      certain

circumstances, pre-indictment delay can give rise to a Due Process

violation even if the indictment is returned within the statute of

limitations.    United States v. Foxman, 87 F.3d 1220, 1222 (11th Cir.

1996).    To establish a due process violation, Defendant must show:

(1) actual prejudice, and (2) the delay resulted from a deliberate

design by the government to gain a tactical advantage.        United States

v. Thomas, 62 F.3d 1332, 1339 (11th Cir. 1995).


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     The Court finds it doubtful that Defendant has sufficiently

established actual prejudice attributable to the delay.         The alleged

crime occurred on July 14, 2006. Defendant was indicted on September

30, 2008.    Lewis Williams’s death, upon which Defendant relies to

show prejudice, occurred on December 30, 2007.          The destruction of

the two houses, upon which Defendant also relies, occurred on October

20, 2007.   Therefore, had Defendant been indicted prior to October

20, 2007, he would have had greater access to Lewis Williams and the

two houses. No evidence exists to suggest, however, that this access

would have been helpful to him.       It is sheer speculation to suggest

that Lewis Williams would have confessed that the contraband was his

and not the Defendant’s.      Moreover, there is no guarantee that the

trial would have occurred prior to his untimely death even if the

indictment had preceded it. Furthermore, Defendant has pointed to no

reliable reason that earlier access to the houses before their

destruction would have yielded anything helpful to him.               Finally,

Defendant was well aware before the death of Lewis Williams and the

destruction of the houses that he was being accused of criminal

conduct associated with contraband found in the two houses.             After

all, he had been arrested on July 14, 2006 when the houses were

searched by county law enforcement and had been charged with state

criminal offenses similar to the federal crimes for which he was

subsequently indicted.       Consequently, he had the opportunity to

investigate any leads relating to this evidence from July 14, 2006

until the time of Lewis Williams’s          death and the time of the

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destruction of the houses.        For all of these reasons, the Court finds

that Defendant suffered no serious prejudice as a result of the pre-

indictment delay.

        Even if Defendant did suffer some prejudicial delay, the Court

finds that the delay did not result from any intent by the government

to obtain a tactical advantage.            The delay was primarily associated

with the federal investigation to establish the connection of the

guns to interstate commerce so the gun crimes could be prosecuted in

federal court.       Moreover, there was some delay in having the matter

reviewed by the federal government to determine whether to take the

case.       Although one may quarrel with the Government’s inefficiency,

no   evidence     has   been   presented    to   suggest   that   the   delay   was

purposeful to obtain any type of tactical advantage.

        Based on the foregoing, the Court finds that the pre-indictment

delay did not result in a denial of Defendant’s due process rights.3

                                   CONCLUSION

        Defendant’s Motion to Dismiss the Indictment Pursuant to the

Speedy Trial Act (Doc. 62) is granted, but the dismissal is without

prejudice.      Defendant’s Motion to Dismiss the Indictment Pursuant to

the Speedy Trial Clause of the Sixth Amendment (Doc. 63) is denied.



        3
      Insofar as Defendant argues that the pre-indictment delay combined
with the post-indictment delay violated his speedy trial rights under the
Sixth Amendment and his due process rights, the Court rejects this
argument for the same reasons that it rejects Defendant’s other
constitutional arguments. Balancing the length of delay with the lack of
prejudice and the reasons for the delay, the Court finds no constitutional
violation in this case.

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Defendant’s Motion to Dismiss for Pre-Indictment Delay (Doc. 61) is

denied.



     IT IS SO ORDERED, this 10th day of March, 2010.



                                            S/Clay D. Land
                                                   CLAY D. LAND
                                           UNITED STATES DISTRICT JUDGE




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